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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF REPRESENTATIVES,
1102 Longworth House Office Building
Washington, D.C. 20515,

                            Plaintiff,

           v.                                         Case No. 1:19-cv-1974

UNITED STATES DEPARTMENT OF
THE TREASURY,
1500 Pennsylvania Avenue N.W.
Washington, D.C. 20220, et al.,

                             Defendants.




                           Exhibit P
                                Case 1:19-cv-01974-TNM Document 1-16 Filed 07/02/19 Page 2 of 4
     RICHARD E. NEAL,
     MASSACHUSETIS,
        CHAIRMAN
                                            ((ongress of tbe llntteb ~tates                                      KEVIN BRADY,
                                                                                                                    TEXAS,
                                                                                                               RANKING MEMBER

JOHN LEWIS, GEORGIA
LLOYD DOGGETT, TEXAS
                                                'ml.~. j!}ouse of l\epresentatibes                       DEVIN NUNES, CALIFORNIA
                                                                                                         VERN BUCHANAN, FLORIDA
MIKE THOMPSON, CALIFORNIA                                                                                ADRIAN SMITH , NEBRASKA
JOHN B. LARSON, CONNECTICUT                        COMM ITIEE ON WAYS AN D MEANS                         KENNY MARCHANT, TEXAS
EAR L BLUMENAUER, OREGON                                                                                 TOM REED, NEW YORK
AON KIN D. WISCO NSIN                             1102 LON GWO RT H H OUSE O FFICE BU ILDING             MIKE KELLY, PE NNSYLVANIA
BILL PASCAELL JR., NEW JERSEY                                                                            GEORGE HOLDING, NORTH CAROLINA
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                                                   [lfflm)bington, ll<lt 20515-0348                      DAVID SCHWEIKERT, ARIZONA
                                                                                                         J ACKIE WALORSKI. IN DIANA
SUZAN DELBENE, WASHINGTON                                                                                DARIN LAHOOD, ILLINOIS
JUDY CHU, CALIFORNIA                                   http://waysandmeans.house.gov                     BRAD A. WEN STAUP, OHIO
GWEN MOORE, WISCON SIN                                                                                   JOOEY A RRINGTON. TEXAS
DA N KILDEE, M ICHIGAN                                                                                   DREW FERGU SON, GEORGIA
BRENDAN BOYLE. PENN SYLVAN IA                                                                            AON ESTES, KANSAS
DON BEYER, VIRGINIA
DW IGHT EVANS, PEN NSYLVANIA
                                                                                                         GARY ANDRES,
BRAD SCHNEIDER, ILLINOIS
                                                                                                            MINORITY STAFF DIRECTOR
TOM SUOZZI, NEW YORK
JIMMY PAN ETTA, CALIFORNIA
STEPHANIE MURPHY, FLORIDA
JI MMY GOMEZ, CALIFORNIA
STEVEN HORSFORD. NEVADA
                                                             June 28, 2019
BRANDON CASEY,
   MAJORITY STAFF DIRECTOR




              The Honorable Steven T. Mnuchin                               The Honorable Charles P. Rettig
              Secretary                                                     Commissioner
              Department of the Treasury                                    Internal Revenue Service
              1500 Pennsylvania Avenue, NW                                  1111 Constitution A venue, NW
              Washington, D.C. 20220                                        Washington, D.C. 20224

              Dear Secretary Mnuchin and Commissioner Rettig,

                     The Committee on Ways and Means ("Committee") has oversight and legislative
              authority over the Internal Revenue Service ("IRS") and the Federal tax laws. Consistent
              with this authority and the Committee' s longstanding practice under section 6103(-f) of the
              Internal Revenue Code ("Code"), I requested six years of President Trump' s individual tax
              returns and certain related returns and return infonnation. Upon the denial of that section
              6103(f) request, I issued subpoenas for the information. To date, you have not complied
              with those subpoenas.

                     As you are aware, on June 10, 2019- in response to your offers to provide the
              Committee with additional information on the mandatory Presidential audit
              process outlined in the Internal Revenue Manual (IRM)-a briefing was provided by
              officials from the IRS and the Department of the Treasury ("Treasury"). It included a
              walk-through of the applicable IRM provisions and a high-level description of some ways
              in which current audit practices diverge from the IRM because, as Treasury and IRS
              officials noted, the provisions are four decades old and are now "outdated" in numerous
              respects.

                     Regrettably, of the eight Treasury and IRS officials sent to the briefing, none had
              ever been involved in a mandatory Presidential audit. Further, despite letters I sent
              specifically authorizing Majority and Minority Committee staff to receive return and return
              information in connection with the briefing, the IRS and Treasury declined to answer any
              questions asked by Committee staff related to the actual audits of multiple prior Presidents
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Secretary Mnuchin
Commissioner Rettig
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across both political parties, including basic questions about whether Presidential returns
have ever been filed electronically, how long Presidential audits generally take, whether
there ever have been any assessments made to Presidential returns, or whether any
President-taxpayers have ever gone to IRS Appeals from a mandatory audit. In total,
Majority and Minority Committee staff raised a few hundred questions, most of which
Treasury and IRS declined to answer.

       The June 10 briefing only reinforced the Committee's need to review the actual
return information as part of our oversight duties. For example, the briefing highlighted
the substantial discretion a single IRS revenue agent possesses in conducting an audit of a
President's tax returns, raising serious concerns about the absence of safeguards protecting
both the individual auditor as well as the entire audit process from improper influence. The
briefing also raised concerns uniquely and directly relevant to the thoroughness of the
Presidential audit process as applied to this President, including how related-entity returns
and returns previously under audit have been considered and how highly complex returns
are examined. The officials at the briefing reported that there are no specific mandatory
audit procedures for a President's grantor trusts. This Committee is charged with
conducting oversight of precisely these types of questions, and the answers can only be
determined by reviewing the returns and audit file information that the IRS and Treasury
have thus far refused to provide.

       The limited information conveyed at the briefing is not a replacement for the actual
return and return information that the Committee requested under section 6103(f) and now
has subpoenaed. As I have explained in our prior correspondence, the Committee is
conducting oversight of the IRS' s handling of Presidential tax returns and enforcement of
tax laws involving the President. As part of that investigation, the Committee is examining
the IRS's administration of the mandatory Presidential audit process and the application of
that audit process to the tax returns of President Trump and certain related entities. Indeed,
the President himself repeatedly has called into question the integrity of the IRS's audit
system, including by criticizing the mandatory audit process as "extremely unfair." The
Committee is also considering the adequacy of the IRS' s review of particular provisions of
the Code that testimony before the Oversight Subcommittee has indicated may be relevant
to President Trump's returns.

       Without studying the returns and the documentation of the agent's decisions that
were requested, the Committee cannot evaluate the accuracy of the President's claims
about the audit system, assess the fairness and effectiveness of the audit program and the
scope of the audits being performed on the President's returns, or understand how
particular provisions of the Code are being enforced as part of the IRS' s review. Each of
these will inform the Committee's legislative judgment of whether and how to amend the
Code to respond to issues concerning the audit process or that are otherwise implicated by
the President's returns.
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Commissioner Rettig
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       The subpoenas issued to the IRS and Treasury on May 10 remain pending, and you
remain under a legal obligation to provide this information to the Committee. Thank you
for your prompt attention to this matter.

                                      Sincerely,




                                            onorable Richard E. Neal, Chairman
